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   10 Attorneys for Defendants THE CITY OF FONTANA, FONTANA POLICE CHIEF
        WILLIAM GREEN, JUSTIN LAING, CHRIS TUSANT, JOSHUA PATTY,
   11 DOMENICO ANCONA, JOHN COLLOPY, and MARK WYRICK

   12
                            UNITED STATES DISTRICT COURT
   13
                          CENTRAL DISTRICT OF CALIFORNIA
   14

   15 SOCORRO GALBAN, for herself              Case No. 5:19-CV-02474-MCS-SHK
      and on behalf of her minor child,
   16 B.S.G.,                                       Assigned for All Purposes to:
                                                        Hon. Mark C. Scarsi
   17                            Plaintiff,    Los Angeles – Courtroom 7C – 7th Floor
   18                                          JOINT STIPULATION RE:
                    v.                         DISMISSAL OF DEFENDANT CHIEF
   19                                          GREEN WITH PREJUDICE
   20 THE CITY OF FONTANA, et al.,             Filed Concurrently with Proposed Order
   21                            Defendants.   Trial Date:       October 5, 2021
                                               Complaint Filed:  February 14, 2020
   22                                          Fourth Amended Complaint: Jan 27, 2021
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        JOINT STIPULATION RE: DISMISSAL OF DEFENDANT CHIEF GREEN
                             WITH PREJUDICE
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    1 JOINT STIPULATION RE: DISMISSAL OF DEFENDANT CHIEF WILLIAM

    2                                         GREEN
    3               Plaintiff SOCORRO GALBAN, for herself and on behalf of her minor
    4 child, B.S.G. (“Plaintiffs”), on the one hand, and Defendants The City Of Fontana,

    5 Fontana Police Chief William Green, Justin Laing, Chris Tusant, Joshua Patty,

    6 Domenico Ancona, John Collopy, and Mark Wyrick (“Defendants,” and collectively

    7 Plaintiffs and Defendants are the “Parties”), on the other hand, by and through their

    8 respective counsel, do agree as follows and submit for the Court’s consideration the

    9 following Stipulation:
   10                                       RECITALS
   11          1.   On February 14, 2020 Plaintiff filed this action naming as Defendants the
   12 City of Fontana, Police Chief William Green, and Officer Justin Laing, and DOES 1-

   13 10, inclusive. (ECF Dkt 1.)

   14          2.   On October 13, 2020, Plaintiffs filed a Third Amended Complaint
   15 (“TAC”), naming as Defendants The City Of Fontana, Fontana Police Chief William

   16 Green, Justin Laing, Chris Tusant, Joshua Patty, Domenico Ancona, John Collopy,

   17 and Mark Wyrick. (ECF Dkt 70.)

   18          3.   On January 26, 2021 Plaintiffs filed their Fourth Amended Complaint
   19 (“4AC”), which dropped some of the claims of the TAC, but asserted claims against
   20 the same named Defendants as Plaintiffs’ TAC.

   21          4.   Defendants contended that, with respect to Defendant Police Chief
   22 William Green, Plaintiffs’ 4AC did not set forth or identify what claims, if any,

   23 Defendant Police Chief William Green was claimed to be liable on. Based on same,

   24 Defendants sought dismissal of Plaintiffs 4AC due to, in part, the 4AC’s failure to

   25 state a claim against Defendant City of Fontana and/or Police Chief William Green.

   26 Plaintiffs deny any such failure/shortcoming in the 4AC.

   27          5.   Nonetheless, following additional meet and confer efforts, Plaintiffs have
   28 agreed to dismiss Defendant Police Chief William Green from this proceeding, with
                                                 2
        JOINT STIPULATION RE: DISMISSAL OF DEFENDANT CHIEF GREEN
                             WITH PREJUDICE
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    1 prejudice.

    2              6.     Defendants, and each of them, on the one hand, and Plaintiffs, on the
    3 other hand, agree that they each will bear their own costs, including attorney’s fees, if

    4 any, incurred in connection with Plaintiffs’ claims and Defendants’ defenses

    5 concerning Defendant Police Chief William Green, only.

    6 IT IS HEREBY STIPULATED by and between the Parties:

    7            1.       Defendant Police Chief William Green is to be dismissed from this
    8 proceeding, with prejudice, upon the Court’s approval of this Stipulation.

    9            2.       Defendants, and each of them, on the one hand, and Plaintiffs, and each
   10 of them, on the other hand, shall bear their own costs, including attorney’s fees, if

   11 any, incurred in connection with Plaintiffs’ claims and Defendants’ defenses

   12 concerning Defendant Police Chief William Green.

   13                                     IT IS SO STIPULATED.
   14

   15 DATED: April 5, 2021                            LYNBERG & WATKINS
   16                                            By: /s/ Jonathan C. Bond
   17
                                                     S. FRANK HARRELL
                                                     TAMARA M. HEATHCOTE
   18
                                                     JONATHAN C. BOND
                                                     Attorneys for Defendants
   19
                                                     THE CITY OF FONTANA, FONTANA
                                                     POLICE CHIEF WILLIAM GREEN,
   20
                                                     JUSTIN LAING, CHRIS TUSANT,
                                                     JOSHUA PATTY, DOMENICO
   21
                                                     ANCONA, JOHN COLLOPY, and MARK
                                                     WYRICK
   22

   23 DATED: April 5, 2021                            BARNES LAW

   24                                            By: /s/ Robert E. Barnes
                                                     ROBERT E. BARNES
   25                                                Attorneys for Plaintiffs
                                                     SOCORRO GALBAN, for herself and on
   26                                                behalf of her minor child, B.S.G.
   27   4841-7330-1220, v. 2

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         JOINT STIPULATION RE: DISMISSAL OF DEFENDANT CHIEF GREEN
                              WITH PREJUDICE
